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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

    v.                                               Case No. 25-CR-10 (TSC)

 ANTONY VO,

      Defendant.

  UNITED STATES’ MOTION TO QUASH ARREST WARRANT ON A COMPLAINT

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this motion.

         Pursuant to Federal Rule of Criminal Procedure 4, the government hereby moves to quash

the arrest warrant on a complaint issued on January 15, 2025. The government cites to the

Executive Order dated January 20, 2025, Granting Pardons and Commutation of Sentences for

Certain Offenses Relating to the Events at Or Near the United States Capitol on January 6, 2021,

as the reason for this motion.

                                                       Respectfully submitted,

                                                       EDWARD ROBERT MARTIN, JR.
                                                       United States Attorney
                                                       D.C. Bar No. 481866


                                                       ____________/S/_______
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